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                                EXHIBIT E
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Heyd Rodriguez
from:                                      Phil Byler
Send:                                      Thursday, August 15, 2019 6:58 AM
To:                                        Jones, Tyler L.
Cc:                                        Ke~aley, William P.; Andrew T. (~ililtenbe~g; Heydy Rodriguez
Subject:                                   Re: Doe v. Purdue: Navy Records



Dear Tyler:

I will be opposing your motion, which is misconceived, based upon a misstatement of the
"background" facts and a misstatement of the Seventh Circ~.it decision in this case. I also note
that I had suggested that we wait until w~ have the conference ~vlt~ the ~~u~-t ~n S~pte~b~~ 5
before we launch out on to discovery given that the Seventh Circuit decision in this case
controls us and not a three yeas old pre-motion to dismiss Rule 26(f~ report, and I further emote
that I had advised you I will be seeing leave to amend tie Complaint per the Seventh Circuit's
decision in this case. But it is clear to me that you just can't wait because Purdue's Title I~
office does not want to live under the U.S. Constitution and abide by due process oflaw and a
proper interpretation of Tile Imo. So Purdue disparages due process of l~.w as Plaintiff John
woe's "preferred procedures," and Purdue mo~~s against to dismiss the relief that the Seventh
Circuit identified as open to Plaintiff John Doe and seeks to engage in a ~shing expedition
regardless ofthe Seventh Circuit's rationale far flatly rejecting Purdue's argument against
recognition of a 14th Amendment liberty stigma-plus interest.

Phil

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